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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM




Honorable Kimberly J. Mueller                  RE: Sukhwinder SINGH
United States District Judge                       Docket Number: 2:11CR00173-01
Sacramento, California                             PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY




Your Honor:


Sukhwinder Singh is requesting permission to travel to India for his son’s wedding. Mr. Singh is
current with all supervision obligations, and his restitution has been paid in full. The probation
officer recommends approval be granted.


Conviction and Sentencing Date: On April 18, 2012, Sukhwinder Singh was sentenced for the
offenses of 7 USC 2024(b) – Unauthorized Use of Food Stamps and Criminal Forfeiture.


Sentence Imposed: 24 months custody Bureau of Prisons; 3 years Supervised Release; $100
special assessment; $75,000 restitution. Special Conditions imposed: 1) Warrantless search;
2) Not dissipate assets until restitution paid in full; 3) Financial Disclosure; and 4) Not open
additional lines of credit without approval of the probation officer.


Dates and Mode of Travel: November 26, 2014, through December 30, 2014, by air.




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                                                                                         REV. 05/2013
                                                          TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Sukhwinder Singh
         Docket Number: 2:11CR00173-01
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


Purpose: Mr. Singh will be visiting and staying with his son in Amridsar, Punjab, India. His
son will be getting married while Mr. Singh is there.


                                      Respectfully submitted,

                                        /s/ Wendy E. Reyes

                                         Wendy E. Reyes
                                  United States Probation Officer


Dated:    November 3, 2014
          Elk Grove, California
          WER/sda

                            /s/ Jack C. Roberson
 REVIEWED BY:               Jack C. Roberson
                            Supervising United States Probation Officer




                                  ORDER OF THE COURT

          ☒      Approved         ☐      Disapproved




 Date November 4, 2014                        Kimberly
                                             UNITED     J. Mueller
                                                      STATES   DISTRICT JUDGE
                                              United States District Judge




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                                                                                       REV. 09/2013
                                                        TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
